AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                      Middle           District of        Tennessee

                    United States of America
                               v.                                          )
                                                                           )    Case No:       3:11-00082-5
                          Randy Randolph                                   )
                                                                           )    USM No:          20696-075
Date of Original Judgment:         11/01/13                                )
Date of Previous Amended Judgment:                                         )    Henry A. Martin
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney

                   AMENDED* ORDER REGARDING MOTION FOR SENTENCE
                       REDUCTION PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of        the defendant      the Director of the Bureau of Prisons       the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
              DENIED.        GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of        36               months is reduced to                  29                  .

Pursuant to U.S.S.G. § 1B1.10(b)(2)(C), if the amount of time the defendant has already served as of the effective date of this order
exceeds the reduced term of imprisonment set forth above, the defendant’s sentence shall be reduced to “Time Served,” as of the
                                                    effective date of this order.
                                              (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                          11/01/2013              shall remain in effect.
IT IS SO ORDERED.

Order Date:            2/9/2015 *
                                                                                                         Judge’s signature


Effective Date:              11/01/2015                                                          Aleta A. Trauger, Judge
                     (if different from order date)                                                    Printed name and title
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